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                      EXHIBIT A




                      EXHIBIT A
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                                                       The Honorable Barbara Rothstein
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                                UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
 8
   JAMES GRAY and SCOTT HORTON, individually Case No.: 2:22-cv-800-BJR
 9 and on behalf of all others similarly situated,

10             Plaintiffs,                      CLASS ACTION [PROPOSED]
11                                              AMENDED COMPLAINT
          v.
12
   AMAZON.COM, INC., a Delaware corporation, and JURY TRIAL DEMANDED
13 AMAZON.COM SERVICES LLC, a Washington
   limited liability company,
14

15             Defendants.

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     CLASS ACTION AMENDED                                      TOUSLEY BRAIN STEPHENS PLLC
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 1                                        CLASS ACTION COMPLAINT
 2            Plaintiffs James Gray and Scott Horton (“Plaintiffs”), individually and on behalf of all
 3   others similarly situated, bring this complaint against Defendants Amazon.com, Inc. and
 4   Amazon.com Services LLC (together, “Defendants” or “Amazon”), and upon personal knowledge
 5   as to their own conduct and upon information and belief as to all other matters, allege as follows:
 6                                                 INTRODUCTION
 7            1.       For years, millions of American consumers have trusted Amazon with the most
 8   sensitive level of access to their private lives imaginable. Plaintiffs and millions of other Class
 9   members gave Amazon access into their homes, 24 hours a day, 7 days a week, with permission
10   to listen and record their voices within the private sphere of their homes through a variety of
11   devices that operate a digital assistant software called “Alexa” (hereinafter “Alexa-Enabled
12   Devices”). They did so, however, based on false promises and deliberate misinformation from
13   Amazon about how their voice recordings and the information contained in or derived from the
14   voice recordings would be used.
15            2.       Specifically, Amazon has for years stated unequivocally that it “do[es] not use
16   voice recordings to target ads.” Similarly, Amazon’s privacy policy claims that “Amazon knows
17   that you care how information about you is used, and we appreciate your trust that we will do so
18   carefully and sensibly.” Yet recent revelations confirm that Amazon has broken that trust, and, in
19   fact, does use voice recordings collected by Alexa, along with documents (such as transcripts) and
20   information derived therefrom to serve targeted ads to its customers. 1 Amazon all but admitted as
21   much in response to a research paper originally published in April 2022 and most recently updated
22   in February 2023. Unable to refute the findings in the Research Paper, Amazon now admits that
23   “[s]imilar to what you’d experience if you made a purchase on Amazon.com or requested a song
24   through Amazon Music, if you ask Alexa to order paper towels or to play a song on Amazon
25

26   1
       Voice recordings collected by Alexa, any transcripts of those recordings, and any other data created or derived
27   therefrom, including transaction records, are referred to collectively herein as “voice data.”

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 1   Music, the record of that purchase or song play may inform relevant ads shown on Amazon or
 2   other sites where Amazon places ads.” The independent research further confirms that Amazon is
 3   using its customers’ voice prompts to Alexa in order to influence targeted advertising served to
 4   that customer, regardless of whether a purchase was made.
 5          3.      Amazon’s admission that it does, in fact, use Alexa voice data to inform targeted
 6   advertising placed by Amazon throughout its vast advertising network is shocking, especially
 7   coming after years of repeatedly disavowing any such usage.
 8          4.      Amazon’s customers, including Plaintiffs, agreed to allow Alexa into their homes
 9   for a very specific and limited purpose—responding to and executing voice commands and
10   queries. Nothing in Amazon’s or Alexa’s terms of service or privacy policy discloses or obtains
11   authorization for usage of their voice recordings or other voice data for advertising purposes.
12          5.      Amazon’s advertising segment is the fastest growing part of its business, generating
13   more than $30 Billion in 2021, representing a nearly 250% increase in ad revenue in just 2 years.
14   Amazon is able to obtain a premium when it auctions the details of its customers’ lives off to the
15   highest advertising bidder, because Amazon builds dossiers about its customers based on data it
16   collects, including voice data, and its advertising partners pay a substantial premium for access to
17   Amazon’s customers because of that data collection. But if Amazon is going to include its
18   customers’ Alexa voice data as part of its targeted advertising dossier, that must be clearly
19   disclosed to, and authorized by, the customers. Instead, Amazon obfuscates in its terms of service
20   and privacy policy, while at the same time it publicly denies the kind of targeted advertising usage
21   it has been engaged in all along. This deliberate misdirection and unauthorized usage of Plaintiffs’
22   and Class members’ data is ongoing.
23          6.      Amazon’s customers deserve complete transparency about how their Alexa-
24   captured voice recordings and other voice data are being used, so they can make informed
25   decisions when they let Amazon’s recording devices into their homes, and regain control over the
26   privacy of their homes. Plaintiffs ask the Court to order Amazon to (i) provide clear and accurate
27   disclosures to its customers about Amazon’s usage of Alexa-captured voice recordings and
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 1   associated voice data for targeted advertising, (ii) offer effective privacy controls over Alexa-
 2   captured voice recordings and associated voice data and its usage for targeted advertising, and (iii)
 3   disgorge Amazon of the ill-gotten profits it has reaped through misleading customers into
 4   providing sensitive data via Alexa-captured voice recordings that Amazon surreptitiously was
 5   using to obtain a premium in its advertising revenue and compensate Plaintiffs and other Class
 6   members for Amazon’s blatant violation of their privacy rights.
 7                                            JURISDICTION
 8          7.      This Court has personal jurisdiction over Amazon because, among other things,
 9   Amazon maintains its headquarters in this district.
10          8.      This Court has jurisdiction over the subject matter of this case pursuant to the Class
11   Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(2) because at least one Class member is of
12   diverse citizenship from Amazon, there are more than 100 Class members, and the aggregate
13   amount in controversy exceeds $5,000,000, exclusive of interest or costs.
14                                                 VENUE
15          9.      Venue is proper in this District because the Defendants maintain their headquarters
16   here, and much of the relevant conduct at issue in this action took place within this district.
17                                                PARTIES
18          10.     Plaintiff James Gray is a resident of the state of Ohio, where he currently has 4
19   Alexa-Enabled Devices in his home. Upon information and belief, he has been subjected to
20   unauthorized usage by Defendant Amazon of his Alexa-collected voice data to target him with ads
21   on numerous occasions without his consent.
22          11.     Plaintiff Scott Horton is a resident of the state of Massachusetts, where he currently
23   has 4 Alexa-Enabled Devices in his home. Upon information and belief, he has been subjected to
24   unauthorized usage by Defendant Amazon of his Alexa-collected voice data to target him with ads
25   on numerous occasions without his consent.
26          12.     Defendant Amazon.com, Inc. and is a Delaware corporation with its headquarters
27   and principal place of business at 410 Terry Avenue North, Seattle, Washington. Amazon is one
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 1   of only 3 or 4 companies in America whose presence in the modern internet age is virtually
 2   unavoidable, simultaneously acting as the nation’s largest online retailer, as well as one of the most
 3   prolific streaming content providers of music, movies and other content, among many other
 4   physical and digital properties it maintains. It is also now one of the largest digital advertising
 5   intermediaries, leveraging the massive amount of data it collects about its customers. Amazon
 6   targets its customers with advertising based on customized profiles it creates from their data and
 7   sells that access to the highest bidding advertiser for a premium.
 8          13.     Defendant Amazon.com Services LLC is a Washington limited liability company
 9   and is an indirect wholly-owned subsidiary of Amazon.com, Inc.             Defendant Amazon.com
10   Services LLC is a party to the Alexa Terms of Use.
11                                     FACTUAL ALLEGATIONS
12          Amazon’s Alexa-Enabled Devices Have Become Ubiquitous in Homes Across
13          America
            14.     Amazon first launched its Alexa service in November 2014 as a voice-activated
14
     digital personal assistant competing alongside the products of their other major competitors, such
15
     as Google Home Assistant, Apple’s Siri, Microsoft’s Cortana, and Samsung’s Bixby.
16
            15.     Alexa’s popularity quickly surged. From 2015 to 2016, total Echo device sales
17
     more than doubled from 2.4 million to 5.2 million, in 2017 approximately 7.85 million Alexa-
18
     Enabled Devices were sold, and today there are more than 40 million Alexa-Enabled Devices
19
     operating within the United States alone.
20
            16.     Alexa is a digital assistant software that runs on a wide variety of hardware devices.
21
     The most common is a smart speaker that Amazon itself manufactures and sells called the Echo,
22
     its smaller cousin, the Echo Dot, or the larger version with a screen, the Echo Show. Amazon also
23
     manufactures a device that allows users to stream Amazon content to their TV called the “Fire
24
     Stick,” which also runs Alexa. Furthermore, Alexa can also run on devices manufactured by other
25
     companies that Amazon has partnered with.
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 1          17.     Alexa can perform a wide range of functions that the user controls using voice
 2   prompts. All Alexa-Enabled Devices contain a microphone, that when active (turned on), is
 3   constantly recording any sound made within its vicinity. Alexa is supposed to “ignore” sounds
 4   until it hears its “wake word”, which is “Alexa”. The user therefore interacts with Alexa by
 5   speaking the word “Alexa”, immediately followed by an inquiry or command that is within Alexa’s
 6   range of capabilities.
 7          18.     Alexa-Enabled Devices can perform a wide range of functions. For example, an
 8   Alexa-enabled TV could respond to the voice command “Alexa, play Teletubbies” by loading the
 9   popular children’s show onto the TV. Alexa is highly integrated into Amazon’s other products
10   and services, and can be used to make purchases from Amazon.com using nothing more than a
11   voice command, for example “Alexa, order more orange juice,” or to keep track of items for later,
12   for example “Alexa add coffee to my shopping list.” Alexa can also answer questions, such as
13   “Alexa, what is the weather in Seattle tomorrow?”
14          19.     Millions of Amazon customers have brought Alexa into their homes and given
15   Amazon unprecedented access to monitor and record the speech within their homes, but they have
16   done so with the understanding that such highly sensitive access will be done with the utmost
17   transparency and respect for their privacy and solely for the purposes of responding to Alexa
18   commands or inquiries.
          Amazon Has Maintained for Years That It Does Not Use Voice Data Captured By
19
          Alexa-Enabled Devices for Targeted Advertising
20          20.     Amazon publicly presents itself as a company that values customer privacy, puts
21   customers in control of their data, and is transparent about how it uses the data it collects from its
22   customers.
23          21.     Amazon representative Andrew DeVore testified to the US Senate Commerce
24   Committee during 2018 hearings on the safekeeping and privacy of customer data: “We design
25   our products and services so that it's easy for customers to understand when their data is being
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 1   collected and control when it's shared,” and “Our customers trust us to handle their data carefully
 2   and sensibly.” 2
 3           22.      Amazon maintained its carefully crafted façade as a customer-centric company that
 4   was transparent about how it used customer data, even as public concern began to grow over the
 5   proliferation of Alexa-Enabled Devices and the mountains of voice data Amazon collected through
 6   the devices:
                      At Amazon, customer trust is at the centre of everything we do and we take
 7
                      privacy and security very seriously. We have always believed that privacy
 8                    has to be foundational and built in to every piece of hardware, software, and
                      service that we create. From the beginning, we’ve put customers in control
 9                    and always look for ways to make it even easier for customers to have
                      transparency and control over their Alexa experience. 3
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             23.      Amazon has used the trust it cultivated to amass billions of interactions worth of
11
     data on its customers, including registered users of Alexa-Enabled Devices, without ever fully
12
     disclosing how Amazon uses the data it collects from customers.
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             24.      Until recently, whenever Amazon was asked if it used the voice data it collects
14
     through Alexa-Enabled Devices in order to serve targeted ads to customers, Amazon
15
     unequivocally said “No”.
16
             25.      In 2017 Consumer Watchdog published a paper discussing patent applications filed
17
     by Amazon and Google “that would dramatically expand surveillance of consumers’ private lives.”
18
     When WBRC in Birmingham, AL reached out to Amazon for comment, an Amazon spokesperson
19
     responded that: “We take privacy seriously and have built multiple layers of privacy into Echo
20
     devices. We do not use customer's voice recordings for targeted advertising.” (emphasis added).
21

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     2
       Amazon statement in response to “Amazon's Dark Secret: It Has Failed to Protect Your Data,” Wired, November
24   10, 2021 (article raising concerns with the potential security risks posed by the growing prevalence of Alexa-
     Enabled Devices, the breadth and volume of data collected by Amazon through those devices, and Amazon’s level
25   of control over users’ personal data), available at https://www.wired.com/story/amazon-failed-to-protect-your-data-
     investigation/, last visited 6/2/2022.
26   3
       “Amazon Echo’s privacy issues go way beyond voice recordings,” The Conversation, January 20, 2020, available
     at https://theconversation.com/amazon-echos-privacy-issues-go-way-beyond-voice-recordings-130016, last visited
27   6/2/2022.

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 1           26.      When the New York Times ran an article in 2018 titled “Hey, Alexa, What Can
 2   You Hear? And What Will You Do With It?” which disclosed a patent application Amazon filed
 3   for a “voice sniffer algorithm” that could be used to analyze audio on devices in almost real time
 4   and use the data gathered to target ads to the speakers, Amazon responded in a statement that it
 5   did “not use customers’ voice recordings for targeted advertising,” and again stated that it took
 6   “privacy seriously.” 4
 7           27.      In 2019, NBC journalists conducted an experiment to see whether ads targeted to a
 8   given topic would show up if Amazon smart speaker users repeatedly talked about the same topic
 9   while the smart speaker was on, and published the results. In response, a spokesperson for Amazon
10   wrote to NBC and again reiterated that: “We do not use voice recordings to target ads.” 5
11           28.      Again in 2020 Amazon publicly disclaimed using Alexa-captured voice data for
12   targeted advertising. Jon Forntt of CNBC interviewed David Limp, Amazon SVP of Devices and
13   Services on the growth of Amazon’s voice services. Jon Forntt asked David Limp “How long
14   before some of that data that consumers are putting into the system through their Alexa requests,
15   etc. starts informing ad placements more and more and becomes a real revenue driver?” David
16   Limp responded: “Yeah, we haven’t really focused on ads that much.” Jon Forntt pushed back:
17   “But you gotta be experimenting with it right? Taking the data that you get and saying well how
18   would we uh target advertising or make the experience better when we eventually do roll that out?”
19   David Limp responded: “We’re not experimenting with [targeted advertising] yet.” 6
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       “Hey, Alexa, What Can You Hear? And What Will You Do With It?” New York Times, March 31, 2018
     (emphasis added), available at https://www.nytimes.com/2018/03/31/business/media/amazon-google-privacy-
24   digital-assistants.html, last visited June 2, 2022.
     5
       “Are Smart Speakers Planting Ads On Our Social Media Profiles?” Dorian Hargrove and Consumer Bob, May24,
25   2019 (emphasis added), available at https://www.nbcmiami.com/news/local/are-smart-speakers-planting-ads-on-our-
     social-media-profiles/157153/, last visited 6/2/2022.
26   6
       Squawk on the Street interview, January 7, 2020 (emphasis added), available at
     https://cnbc.com/video/2020/01/07/amazons-head-of-devices-on-growth-and-privacy-regulation.html, last visited
27   6/2/2022.

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                Amazon Has Now Admitted That It Does, In Fact, Use Alexa-Captured Voice Data
 1
                to Serve Targeted Ads to Users, As Confirmed by Independent Researchers
 2              29.      Despite years of publicly denying that it was using Alexa-captured voice data to
 3   serve targeted ads, Amazon has now admitted that it does just that.
 4              30.      In April 2022, a research paper was published by a team of highly respected
 5   academics from the University of Washington, University of California-Davis, University of
 6   California-Irvine, and Northeastern University, titled Your Echoes are Heard: Tracking, Profiling,
 7   and Ad Targeting in the Amazon Smart Speaker Ecosystem (originally published on April 28, 2022,
 8   most recently updated on February 20, 2023) (the “Research Paper”), 7 in which the researchers
 9   conducted a series of experiments that concluded with a high degree of scientific reliability that
10   “Amazon processes voice data to infer user interests,” and that their “measurements indicate the
11   usage of voice data for on-platform (i.e., audio ads), off-platform (i.e., web ads), and cross-device
12   (i.e., non-Echo device) ad targeting.” In other words, Amazon was doing exactly what it had
13   denied for years—using Alexa-captured voice data to serve targeted ads to its customers, and doing
14   so across the full spectrum of advertising channels on which Amazon operates (see infra Section
15   E). The academic researchers further concluded that “Amazon’s inference of advertising interests
16   from users’ voice interactions seems to be inconsistent with their public statements.”
17              31.      Amazon admitted as much in response to the evidence laid out in the Research
18   Paper. Specifically, an Amazon statement to the press said that “[s]imilar to what you’d experience
19   if you made a purchase on Amazon.com or requested a song through Amazon Music, if you ask
20   Alexa to order paper towels or to play a song on Amazon Music, the record of that purchase
21   or song play may inform relevant ads shown on Amazon or other sites where Amazon places
22   ads.” 8
23

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     7
         Available at https://arxiv.org/pdf/2204.10920.pdf (last visited March 3, 2023).
     8
       See Jennifer Pattison Tuohy, Researchers find Amazon uses Alexa voice data to target you with ads, at The Verge
25   (April 28, 2022), https://www.theverge.com/2022/4/28/23047026/amazon-alexa-voice-data-targeted-ads-research-
     report (“Amazon confirmed to The Verge that it does use voice data from Alexa interactions to inform relevant ads
26   shown on Amazon or other sites where Amazon places ads. ‘Similar to what you’d experience if you made a
     purchase on Amazon.com or requested a song through Amazon Music, if you ask Alexa to order paper towels or to
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 1           32.      Amazon’s admission is stunning in light of the Company’s sweeping statements for
 2   years denying that it used Alexa-captured voice data to target ads. Amazon’s admission is still
 3   side-stepping the heart of the issue, however, because the Alexa interactions that were the subject
 4   of the Research Paper did not include any completed purchases, and instead were limited to voice
 5   prompts, and only a limited number of those were interactions with Amazon Music. Amazon’s
 6   statement, while an important admission that Amazon does, in fact, use Alexa-captured voice data
 7   for targeted advertising, still does not explain the broader targeted advertising usage shown in the
 8   Research Paper.
 9           Neither Amazon’s Alexa Terms of Service nor its Privacy Policy Discloses or
             Obtains Authorization to Use Voice Data For Targeted Advertising
10

11           33.      Amazon posts Terms and Notices for Alexa users on its website.
12           34.      Amazon’s maze of overlapping and interrelating Terms and Notices for Alexa users
13   is purposely designed to confuse and obfuscate. Amazon currently purports to bind Alexa users
14   to terms and conditions in at least 13 separate documents. However, even if a user were to read
15   through all of this material and somehow be able to make sense of all the overlapping, deliberately
16   confusing and often inconsistent messaging throughout the various documents, at no point in these
17   various terms and policies does Amazon disclose that users’ voice recordings or associated voice
18   data are used to inform targeted advertising. In fact, the words “ads,” “advertising,” “advertise,”
19   and “advertisements” do not appear a single time in the current versions of the Alexa Terms of
20   Use, the Amazon.com Conditions of Use , the Amazon Device Terms of Use, or the FAQs article
21   entitled “Alexa, Echo Devices, and Your Privacy,” or the prior versions in effect at or around the
22   time Plaintiffs initially registered their Alexa-Enabled Devices. Nowhere in the current or prior
23   versions of the applicable Alexa Terms of Use, the Amazon Conditions of Use, the Amazon Device
24

25

26   play a song on Amazon Music, the record of that purchase or song play may inform relevant ads shown on Amazon
     or other sites where Amazon places ads.’ Amazon spokesperson Lauren Raemhild said in an email.”) (last visited
27   February 27, 2023).

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 1   Terms of Use, or the Amazon.com Privacy Notice, does Amazon disclose that it uses Alexa-
 2   captured voice data to serve targeted ads to Alexa users.
 3          35.      The versions of the Amazon.com Privacy Notice in effect 2016-2018, when
 4   Plaintiffs first registered their Alexa-Enabled Devices, do not identify voice recordings or other
 5   voice inputs as a source of personal information provided to Amazon, much less that Alexa-
 6   captured voice data is used to serve targeted ads:
 7          From Amazon.com Privacy Notice, last updated September 30, 2016
 8          What Personal Information About Customers Does Amazon.com Gather?
 9          •       The information we learn from customers helps us personalize and continually
            improve your Amazon experience. Here are the types of information we gather.
10          •       Information You Give Us: We receive and store any information you enter on our
            Web site or give us in any other way. Click here to see examples of what we collect. You
11          can choose not to provide certain information, but then you might not be able to take
            advantage of many of our features. We use the information that you provide for such
12          purposes as responding to your requests, customizing future shopping for you, improving
            our stores, and communicating with you.
13
            •       Automatic Information: We receive and store certain types of information
14          whenever you interact with us. For example, like many Web sites, we use "cookies," and
            we obtain certain types of information when your Web browser accesses Amazon.com or
15          advertisements and other content served by or on behalf of Amazon.com on other Web
            sites. Click here to see examples of the information we receive.
16          •       Mobile: When you download or use apps created by Amazon or our subsidiaries,
            we may receive information about your location and your mobile device, including a
17          unique identifier for your device. We may use this information to provide you with
            location-based services, such as advertising, search results, and other personalized content.
18          Most mobile devices allow you to turn off location services. For more information about
            how to do this,click here.
19
            •       E-mail Communications: To help us make e-mails more useful and interesting,
20          we often receive a confirmation when you open e-mail from Amazon.com if your computer
            supports such capabilities. We also compare our customer list to lists received from other
21          companies, in an effort to avoid sending unnecessary messages to our customers. If you do
            not want to receive e-mail or other mail from us, please adjust your Customer
22          Communication Preferences .
            •       Information from Other Sources: We might receive information about you from
23          other sources and add it to our account information. Click here to see examples of the
            information we receive.
24
            ****
25          Examples of Information Collected
26          Information You Give Us
            •       You provide most such information when you search, buy, post, participate in a
27          contest or questionnaire, or communicate with customer service. For example, you provide
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             information when you search for a product; place an order through Amazon.com or one of
 1           our third-party sellers; provide information in Your Account (and you might have more
             than one if you have used more than one e-mail address when shopping with us) or Your
 2           Profile ; communicate with us by phone, e-mail, or otherwise; complete a questionnaire or
             a contest entry form; use our services such as Amazon Instant Video; compile Wish Lists
 3           or other gift registries; participate in Discussion Boards or other community features;
             provide and rate Reviews; and employ Product Availability Alerts, such as Available to
 4           Order Notifications. As a result of those actions, you might supply us with such information
             as your name, address, and phone numbers; credit card information; people to whom
 5           purchases have been shipped, including addresses and phone number; people (with
             addresses and phone numbers) listed in 1-Click settings; e-mail addresses of your friends
 6           and other people; content of reviews and e-mails to us; personal description and photograph
             in Your Profile ; and financial information, including Social Security and driver's license
 7           numbers.
 8           Automatic Information
             Examples of the information we collect and analyze include the Internet protocol (IP)
 9           address used to connect your computer to the Internet; login; e-mail address; password;
             computer and connection information such as browser type, version, and time zone setting,
10           browser plug-in types and versions, operating system, and platform; purchase history,
             which we sometimes aggregate with similar information from other customers to create
11           features like Top Sellers ; the full Uniform Resource Locator (URL) clickstream to,
             through, and from our Web site, including date and time; cookie number; products you
12           viewed or searched for; and the phone number you used to call our 800 number. We may
             also use browser data such as cookies, Flash cookies (also known as Flash Local Shared
13           Objects), or similar data on certain parts of our Web site for fraud prevention and other
             purposes. During some visits we may use software tools such as JavaScript to measure and
14           collect session information, including page response times, download errors, length of
             visits to certain pages, page interaction information (such as scrolling, clicks, and mouse-
15           overs), and methods used to browse away from the page. We may also collect technical
             information to help us identify your device for fraud prevention and diagnostic purposes. 9
16

17           From Amazon.com Privacy Notice, last updated August 28, 2017
             What Personal Information About Customers Does Amazon.com Gather?
18
             The information we learn from customers helps us personalize and continually improve
19           your Amazon experience. Here are the types of information we gather.
         •   Information You Give Us: We receive and store any information you enter on our Web
20           site or give us in any other way. Click here to see examples of what we collect. You can
             choose not to provide certain information, but then you might not be able to take
21           advantage of many of our features. We use the information that you provide for such
             purposes as responding to your requests, customizing future shopping for you, improving
22           our stores, and communicating with you.
23       •   Automatic Information: We receive and store certain types of information whenever
             you interact with us. For example, like many Web sites, we use "cookies," and we obtain
24

25   9
      Available at
     https://web.archive.org/web/20170603043007/https://www.amazon.com/gp/help/customer/display.html?nodeId=468
26   496#GUID-1B2BDAD4-7ACF-4D7A-8608-
     CBA6EA897FD3__SECTION_87C837F9CCD84769B4AE2BEB14AF4F01 (in effect September 30, 2016 through
27   August 27, 2017) (last visited March 1, 2023).

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           certain types of information when your Web browser accesses Amazon.com or
 1         advertisements and other content served by or on behalf of Amazon.com on other Web
           sites. Click here to see examples of the information we receive.
 2
       •   Mobile: When you download or use apps created by Amazon or our subsidiaries, we may
 3         receive information about your location and your mobile device, including a unique
           identifier for your device. We may use this information to provide you with location-
 4         based services, such as advertising, search results, and other personalized content. Most
           mobile devices allow you to turn off location services. For more information about how
 5         to do this, click here.
       •   E-mail Communications: To help us make e-mails more useful and interesting, we often
 6         receive a confirmation when you open e-mail from Amazon.com if your computer
           supports such capabilities. We also compare our customer list to lists received from other
 7         companies, in an effort to avoid sending unnecessary messages to our customers. If you
           do not want to receive e-mail or other mail from us, please adjust your Customer
 8         Communication Preferences.
 9     •   Information from Other Sources: We might receive information about you from other
           sources and add it to our account information. Click here to see examples of the
10         information we receive.
           *****
11
           Examples of Information Collected
12         Information You Give Us
13         You provide most such information when you search, buy, post, participate in a contest or
           questionnaire, or communicate with customer service. For example, you provide
14         information when you search for a product; place an order through Amazon.com or one of
           our third-party sellers; provide information in Your Account (and you might have more
15         than one if you have used more than one e-mail address when shopping with us) or Your
           Profile ; communicate with us by phone, e-mail, or otherwise; complete a questionnaire or
16         a contest entry form; use our services such as Amazon Instant Video ; compile Wish Lists
           or other gift registries; participate in Discussion Boards or other community features;
17         provide and rate Reviews; and employ Product Availability Alerts , such as Available to
           Order Notifications. As a result of those actions, you might supply us with such information
18         as your name, address, and phone numbers; credit card information; people to whom
           purchases have been shipped, including addresses and phone number; people (with
19         addresses and phone numbers) listed in 1-Click settings; e-mail addresses of your friends
           and other people; content of reviews and e-mails to us; personal description and photograph
20         in Your Profile ; and financial information, including Social Security and driver's license
           numbers.
21         Automatic Information
22         Examples of the information we collect and analyze include the Internet protocol (IP)
           address used to connect your computer to the Internet; login; e-mail address; password;
23         computer and connection information such as browser type, version, and time zone
           setting, browser plug-in types and versions, operating system, and platform; purchase
24         history, which we sometimes aggregate with similar information from other customers to
           create features like Top Sellers; the full Uniform Resource Locator (URL) clickstream to,
25         through, and from our Web site, including date and time; cookie number; products you
           viewed or searched for; and the phone number you used to call our 800 number. We may
26         also use browser data such as cookies, Flash cookies (also known as Flash Local Shared
           Objects), or similar data on certain parts of our Web site for fraud prevention and other
27         purposes. During some visits we may use software tools such as JavaScript to measure

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             and collect session information, including page response times, download errors, length
 1           of visits to certain pages, page interaction information (such as scrolling, clicks, and
             mouse-overs), and methods used to browse away from the page. We may also collect
 2           technical information to help us identify your device for fraud prevention and diagnostic
             purposes. 10
 3
             36.     The Amazon.com Privacy Notices in effect 2016-2018 gave only passing mention
 4
     to third party advertising:
 5
             What About Third-Party Advertisers and Links to Other Websites?
 6
             Our site includes third-party advertising and links to other Web sites. For more
 7           information about third-party advertising at Amazon.com, including personalized or
             interest-based ads, please read our Interest-Based Ads policy.
 8

 9   Clicking the hyperlink for the Interest-Based Ads policy takes you to a page that says, in relevant
10   part:
11           Interest-Based Ads
             On both Amazon-owned and operated sites and unaffiliated sites, Amazon displays
12           interest-based advertising using information you make available to us when you interact
             with our sites, content, or services. Interest-based ads, also sometimes referred to as
13           personalized or targeted ads, are displayed to you based on information from activities such
             as purchasing on our sites, visiting sites that contain Amazon content or ads, interacting
14           with Amazon tools, or using our payment services, like Checkout by Amazon. Click here
             for more information about the types of information that we gather. In providing interest-
15           based ads, we follow the Self-Regulatory Principles for Online Behavioral Advertising
             developed by the Digital Advertising Alliance (a coalition of marketing, online advertising,
16           and consumer advocacy organizations).
17           Like other online ad networks, we use cookies, web beacons (also known as action tags or
             single-pixel gifs), and other technologies (collectively, “cookies”). Cookies enable us to
18           learn about what ads you see, what ads you click, and other actions you take on our sites
             and other sites. This allows us to provide you with more useful and relevant ads. For
19           example, if we know what ads you are shown we can be careful not to show you the same
             ones repeatedly. We do not associate your interaction with unaffiliated sites with your
20           identity in providing you with interest-based ads.
             We do not provide any personal information to advertisers or to third party sites that display
21           our interest-based ads. However, advertisers and other third-parties (including the ad
             networks, ad-serving companies, and other service providers they may use) may assume
22           that users who interact with or click on a personalized ad or content are part of the group
             that the ad or content is directed towards (for example, users in the Pacific Northwest who
23           bought or browsed for classical music). Also, some third-parties may provide us
             information about you (such as the sites where you have been shown ads or demographic
24

25

26   10
       Available at
     https://web.archive.org/web/20200909115320/https://www.amazon.com/gp/help/customer/display.html?ie=UTF8&
27   nodeId=16015091 (in effect August 28, 2017 through December 31, 2019) (last visited March 1, 2023).

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             information) from offline and online sources that we may use to provide you more relevant
 1           and useful advertising. 11
 2           37.     Because Amazon did not identify voice recordings or voice inputs as one of the
 3   types of information users make available to Amazon when interacting with Amazon, an Alexa-
 4   Enabled Device user reading the Amazon.com Privacy Notice and Interest-Based Ads policy in
 5   effect 2016-2018, would understand Amazon’s disclosures to mean that Amazon did not use
 6   Alexa-captured voice data to serve targeted ads.
 7           38.     The “Alexa and Alexa Device FAQs,” 12 from 2016-2018, under the headings “How
 8   do I use Alexa?” and “Will the voice services improve over time?” states as follows:
 9           1. How do I use Alexa?
             Alexa is a cloud service. Activating Alexa works differently based on the type of Alexa-
10           enabled product. For far-field Alexa-enabled devices like the Amazon Echo or Echo Dot,
             say the wake word to activate Alexa. For devices like Amazon Tap, activate Alexa by
11           pressing the Talk or microphone button. Then ask Alexa a question, such as "what is the
             weather today in New York?", or tell Alexa to do something, like "add batteries to my
12           shopping list" or "play jazz." Your question or request and related information, like music
             playlists, calendar entries, connected home devices, and items on your shopping list, will
13           be processed in the Cloud.
14           2. Will the voice services improve over time?
             Yes, Alexa is developed to get better over time. Alexa uses your voice recordings and
15           other information, including from third-party services, to answer your questions, fulfill
             your requests, and improve your experience and our services. When you set up your
16           Alexa-enabled product or link third-party services with Alexa, Alexa begins processing
             some information, such as your music playlists. You can also help us improve the voice
17           services by providing feedback within History or by using Voice Training in the Alexa
             App.
18
     And with a slight modification to add Fire TV in mid-2018:
19
           1. How do I use Alexa?
20         Alexa is a cloud service. Activating Alexa works differently based on the type of Alexa-
           enabled product. For far-field Alexa-enabled devices like the Amazon Echo or Echo Dot,
21         say the wake word to activate Alexa. For devices like Amazon Tap and Fire TV, activate
           Alexa by pressing the Talk or microphone button. Then ask Alexa a question, such as
22

23   11
       Available at
     https://web.archive.org/web/20200917094346/https://www.amazon.com/b?ie=UTF8&node=5160028011 (last
24   visited March 1, 2023).
25   12
       See, e.g.,
     https://web.archive.org/web/20160409100358/https://www.amazon.com/gp/help/customer/display.html?nodeId=201
26   602230 (captured 4/9/2016);
     https://web.archive.org/web/20180103150928/https://www.amazon.com/gp/help/customer/display.html?nodeId=201
27   602230 (captured 1/3/2018) (both last visited March 2, 2023).

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             "what is the weather today in New York?", or tell Alexa to do something, like "add
 1           batteries to my shopping list" or "play jazz." Your question or request and related
             information, like music playlists, calendar entries, connected home devices, and items on
 2           your shopping list, will be processed in the Cloud.
 3           2. Will the voice services improve over time?
             Yes, Alexa is developed to get better over time. Alexa uses your voice recordings and
 4           other information, including from third-party services, to answer your questions, fulfill
             your requests, and improve your experience and our services. When you set up your
 5           Alexa-enabled product or link third-party services with Alexa, Alexa begins processing
             some information, such as your music playlists. You can also help us improve the voice
 6           services by providing feedback within History in the Alexa App.
 7
     These vaguely worded disclosures do not inform the user that their voice data will be used to direct
 8
     targeted advertising, and in fact are deliberately designed to create the impression that Amazon
 9
     only uses its customers’ voice data to execute Alexa functions.
10
             39.     The publicly available versions of the Amazon Device Terms of Use in effect from
11
     2016 through the present, first added a paragraph about voice services in April 2016, and even
12
     then the description of “Voice Services,” contain equally nebulous phrasing. “Your Amazon
13
     Device may have features that allow you to access Alexa voice services or otherwise use your
14
     voice to perform certain tasks, such as check the weather, add a calendar entry, perform a search,
15
     or operate other connected products. When you use voice services, we may process your voice
16
     input and other information (such as location) in the cloud to respond to your requests and to
17
     improve your experience and our products and services.” 13 The Terms of Use neglect to even
18
     mention the word “advertise” or any iteration thereof.
19
             40.     Alexa’s Privacy Policy, the Amazon Conditions of Use, and many other Alexa and
20
     Alexa Device Terms not only fail to disclose the way in which voice data will be used for targeted
21
     advertising, they are intentionally misleading. These vague statements falsely imply to users that
22
     Amazon will not use its massive collection of voice recordings of their voices in intimate settings
23

24   13
       See, e.g.,
     https://web.archive.org/web/20160308115529/https://www.amazon.com/gp/help/customer/display.html?nodeId=202
25   002080 (last updated March 3, 2016);
     https://web.archive.org/web/20161220090257/https://www.amazon.com/gp/help/customer/display.html?nodeId=202
26   002080 (last updated April 8, 2016);
     https://web.archive.org/web/20190503024411/https://www.amazon.com/gp/help/customer/display.html?nodeId=202
27   002080 (last updated September 20, 2018).

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 1   within their homes for directed advertising, cloaked in pledges of protecting user privacy and
 2   personalization.
 3          41.     Plaintiffs could not have determined how Amazon used their data from Amazon’s
 4   disclosures at the time they purchased their Alexa-Enabled Device. They therefore could not have
 5   avoided injury by making a fully informed decision not to buy the Device.
 6
            Research Confirms that neither Amazon’s Terms of Use nor its Conduct are
 7
            Consistent with its Public Statements
 8
            42.     Amazon’s admitted use of data derived from Alexa-made voice recordings is
 9
     inconsistent with its public statements that it does “not use customers’ voice recordings for targeted
10
     advertising.” By the same token, Amazon’s terms of use and other representations on its website
11

12   about Alexa recordings, which never disclose that Amazon uses voice recordings and associated

13   voice data to generate customer preference profiles that are used for targeted advertising are also
14   inconsistent with that same conduct. This is the same conclusion reached by a majority of
15
     reasonable consumers, as was directly investigated and reported on in the February 2023 update
16
     to the Research Paper.
17
            43.     Specifically, the authors of the Research Paper conducted an IRB-approved survey
18

19   of 393 consumers in the United States, and explained the nature and purposes of the survey as

20   follows:

21                  We have thus far shown that Amazon infers user interests from voice
                    data and uses those interests to target ads to users. In this section,
22                  we conduct a user study to analyze users’ expectations and comfort
23                  about the use of their data. Specifically, we try to answer two main
                    questions: (i) based on Amazon’s public statement (i.e., we “do not
24                  use voice recordings to target ads” [85]), do users expect that their
                    voice recordings or information derived from their voice recordings
25                  would be used by Amazon for ad targeting, and (ii) whether users
                    are comfortable with the use of interests inferred from their voice
26                  recordings or information derived from voice recordings for ad
27                  targeting.

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 1
            44.     In other words, the academic researchers empirically tested Amazon’s claim that
 2
     its public statements about Alexa voice recordings are not false or misleading because it only
 3
     disclaimed usage of “voice recordings” themselves, as opposed to information derived from voice
 4
     recordings. The results of the survey are clear: a substantial majority of consumers (63%)
 5

 6   understand Amazon’s statements expressly disclaiming usage of “voice recordings” to mean that

 7   Amazon does not use the recordings or information derived from the recordings for targeted
 8   advertising. Importantly, the study also found “that [study] participants can differentiate between
 9
     voice recordings and the information derived from voice recordings.” Although they were able to
10
     differentiate conceptually between the voice recordings themselves and the data derived from the
11
     voice recordings, the study participants still overwhelmingly understood Amazon’s statements that
12

13   it ““do[es] not use voice recordings to target ads” to mean it does not use voice recordings or

14   information derived therefrom because, in the words of the study’s authors, in order “to derive

15   information from voice recordings, voice recordings need to be processed first.”
16

17          Amazon Generates Over $30 Billion in Annual Advertising Revenue, Driven in
            Large Part by Targeted Ads
18
            45.     While Amazon is primarily known for its ubiquitous online marketplace and
19
     streaming content, advertising actually represents one of its largest and fastest growing revenue
20
     streams. In fact, Amazon’s advertising platform provides double the revenue of Amazon’s
21
     physical stores, and Amazon earns more from advertising that it does from its subscription
22
     services, including Prime memberships. 14
23

24

25
     14
       “Amazon has a $31 billion a year advertising business,” Jordan Novet, CNBC, available at
26   https://www.cnbc.com/2022/02/03/amazon-has-a-31-billion-a-year-advertising-
     business.html#:~:text=Advertising%20gives%20Amazon%20twice%20the,services%2C%20which%20icnlude%20
27   Prime%20memberships, last visited 6/8/2022.

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 1           46.      Amazon generated $31.16 billion in advertising revenue in 2021 alone. Amazon’s
 2   advertising revenue for 2021 increased approximately 157% in a single year, from its 2020 annual
 3   advertising revenue of $19.77 billion. Amazon’s advertising revenue for 2021 was approximately
 4   250% higher than its 2019 advertising revenue of $12.63 billion. 15 Similarly, on February 3, 2022,
 5   Amazon provided figures for quarterly advertising net sales for Q32020 through Q42021, plus the
 6   percentage of Year over year growth excluding F/X (“YoY”) for each quarter. For example,
 7   Q42020 advertising net sales were 66% higher YoY than Q42019, and Q42021 advertising net
 8   sales were 33% higher YoY than Q42020. 16
 9           47.      How is Amazon able to maintain such impressive growth in its advertising revenue?
10   The answer lies in Amazon’s unique ability to charge a premium from its advertising partners that
11   is based on the data it collects from its customers. Amazon sits in a very unique position in the
12   global economy, as the largest online retailer in the world, and one of the top streaming content
13   providers, Amazon has the ability to target its customers for advertising based on their preferences
14   and behavior reflected in the data that Amazon continually harvests and maintains. Advertisers
15   pay Amazon a substantial premium for access (through Amazon) to that data so they can target
16   users with advertisements that are more likely to convert into sales revenue.
17                    1.       Amazon’s Business Model Is Varied, Interconnected, and Far Reaching
18           48.      A business ecosystem is a network of organizations involved in the delivery of
19   products and services through both competition and cooperation. Since its founding in 1994,
20   Amazon has created one of the largest digital ecosystems in the world. Through its ecosystem,
21   Amazon is, among other things, a retailer, a technology company, a delivery company with its own
22   fleet of planes, a go to source for entertainment, a B2B distributor, a cloud computing provider,
23   and a growing advertising platform. As of mid-2020, Amazon’s digital ecosystem included over
24   200 million Echo devices, 572 physical stores, a $19 billion digital ad business, 400 private label
25
     15
        See https://www.statista.com/statistics/259814/amazons-worldwide-advertising-revenue-development/ , last
26   visited 6/1/2022.
     16
        Businesswire, February 3, 2022, “Amazon.com Announces Fourth Quarter Results,” available at
27   https://www.businesswire.com/news/home/20220202005957/en/, last visited 6/1/2022.

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 1   brands, a $40 billion revenue cloud business (Amazon Web Services), a $1.5 billion eSports
 2   business, blockchain and IoT services, healthcare initiatives, and a $40 billion R&D budget.
 3                     2.       Amazon’s Targeted Advertising Revenue Is a Fundamental Part of its
 4                              Business Model
              49.      In 2020 there were 256 million digital buyers in the United States, with that number
 5
     expected to grow to 291.2 million in 2025. 17 The sheer number of people buying products online
 6
     has been a golden opportunity for Amazon to get a solid foothold in the digital advertising market
 7
     and add its own advertising platform to the Amazon ecosystem.
 8
              50.      Amazon offers a variety of advertising options, both self-serve and managed by
 9
     Amazon, with the ability to advertise not just on Amazon, but also off Amazon.
10
              51.      Amazon’s advertising products include “Sponsored Products,” “Sponsored
11
     Brands,” “Sponsored Display,” “Stores,” “Audio ads,” “Video ads,” “Custom advertising,” and
12
     most importantly, “Amazon DSP,” which stands for Demand Side Platform, and was rolled out by
13
     Amazon in 2014. 18
14
              52.      DSP is significant because unlike other forms of traditional advertising where
15
     advertisers are merely paying for space to advertise on Amazon’s digital properties, DSP is a
16
     service Amazon offers to advertisers to leverage all of the data Amazon collects about its
17
     customers in order to sell targeted advertising—at a substantial premium—based on that data.
18
              53.      DSP can include audio, video, and display ads, both on and off of Amazon-owned
19
     properties. For example, Amazon DSP advertisers can place ads on Amazon.com, Fire TV,
20
     IMDb.com, Kindle, Amazon Music, as well as on third party advertising exchanges.
21
              54.      Amazon DSP is not limited to advertisers who sell on Amazon.com, the flagship
22
     online retail property. Advertisers who do not sell on Amazon.com can still use Amazon DSP.
23

24

25
     17
        “Number of digital buyers in the United States from 2017 to 2025,” Statista, January 3, 2022, available at
26   https://www.statista.com/statistics/273957/number-of-digital-buyers-in-the-united-states/, last visited 6/1/2022.
     18
        “What does Amazon ads offer?” available at https://advertising.amazon.com/en-us/library/guides/basics-of-
27   success-understanding-amazon-advertising/?ref_=a20m_us_libr, last visited 5/31/2022.

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 1           55.     Programmatic advertising through Amazon DSP is a way to automatically buy and
 2   optimize digital advertising campaigns, generally through Real-Time Bidding (“RTB”) auctions
 3   where ads are bought at the same time as a visitor loads a website, or opens an ad-supported app
 4   or streaming service. It is used to purchase and place digital ad inventory across the web, on
 5   mobile devices, apps, videos, and on social media.
 6           56.     RTB auctions also use headline bidding, a technology that allows publishers to
 7   request bids from multiple demand sources simultaneously and then send the bids to an ad server
 8   to conduct the auction, and render the ad with the winning bid on the site. 19
 9           57.     By the end of 2021, 88% of all digital display marketing spend was via
10   programmatic advertising. Roughly 90% of programmatic advertising is done through RTB. 20
11           58.     RTB auctions are often done on ad exchanges, and Amazon DSP is connected to
12   various third-party ad exchanges.
13           59.     Ad exchanges are online marketplaces where advertisers, agencies, demand-side
14   platforms such as Amazon DSP, publishers, and supply-side platforms can simultaneously bid on
15   digital advertising inventory from various publishers. 21
16           60.     When a visitor accesses a website connected to the ad exchange, an auction signal
17   is sent to the ad exchange, which then asks Amazon DSP if their advertisers have any ads that
18   might fit the placement. If Amazon DSP does, it sends a signal to the exchange to enter an RTB
19   auction with other advertisers to compete for the ad placement. The winning bidder’s ad is
20   rendered on the website.
21           61.     RTB transactions are made in the time it takes to load a webpage; around one-tenth
22   of a second.
23

24
     19
        Id.
25   20
        “What is Programmatic Advertising? The Ultimate 2022 Guide,” last updated May 31, 2022, available at
     https://www.match2one.com/blog/what-is-programmatic-advertising/, last visited 6/1/2022.
26   21
        “A beginner’s guide to programmatic advertising,” March 11, 2021, in What is Programmatic Advertising? A
     Complete 2022 Guide/Amazon Ads, available at https://advertising.amazon.com/blog/programmatic-advertising,
27   last visited 5/31/2022.

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 1          62.     RTB makes it possible for advertisers to place hundreds of thousands of ads online
 2   without needing to individually reach out to online publishers. Billions of RTB bid requests are
 3   made each day.
           The Growth of Amazon’s Business Model Depends on Amazon Continuing to
 4
           Collect Vast Amounts of Customer Data.
 5          63.     A primary advantage of using a digital ecosystem is the ability to gather data about
 6   all aspects of the ecosystem, including processes, customers, and transactions.
 7          64.     Data is a key driver for any digital ecosystem, and particularly Amazon’s
 8   ecosystem. Reportedly, Amazon managers have hung signs outside their offices that said: “In God
 9   we trust. The rest, bring me data.”
10                  1.      Amazon Offers Something No Other Digital Advertising Platform Has –
                            The Unique Data Amazon Has Collected from its Customers, Including
11                          Voice Data from Alexa-Enabled Devices.
12          65.     Amazon has the largest database of online shoppers in the world, with information
13   on their browsing habits, purchasing decisions, even life stages and life changes over time.
14          66.     Amazon uses the personal information it collects from customers to create profiles
15   or dossiers of each customer.
16          67.     Amazon leverages the customer dossiers for various purposes, including insights
17   into customers’ practices and desires in order to sell, upsell, design new products and services, and
18   even guide customer expectations.
19          68.     Amazon also leverages customers’ personal data to support the Amazon DSP
20   advertising platform, including using the data to target ads at the customer whether they are on
21   Amazon, social media, streaming a video, or on a third-party website.
22          69.     Advertisers who sign up to use Amazon’s advertising platform can also leverage
23   Amazon customers’ personal data, and Amazon expects them to.
24          70.     The ability to leverage Amazon customer data to target ads, not just on Amazon but
25   for placing ads on third party websites, is what sets Amazon’s advertising platform apart from its
26   competitors.
27

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 1           71.     Amazon charges a premium for access to Amazon’s advertising platform because
 2   of Amazon’s superior ability to target ads to customers.
 3           72.     Amazon puts access to Amazon’s treasure trove of customer data front and center
 4   when explaining the unique benefits of Amazon DSP.
 5           73.     In a March 11, 2021 article titled “A beginner’s guide to programmatic
 6   advertising,” Amazon explains that “Amazon DSP is unique because it enables programmatic
 7   buying of display, video, audio, and in-app ads both on and off Amazon. Plus, Amazon DSP gives
 8   you access to audiences and insights from the millions of shoppers across Amazon’s website and
 9   physical stores.” 22
10           74.     Amazon also tells advertisers that with Amazon DSP, they can “[u]se exclusive
11   insights and shopping signals to connect with the most relevant audiences on and off Amazon.” 23
12           75.     Amazon customer data in Amazon DSP is tied to individualize profile data,
13   allowing advertisers to break down audience segments based on a variety of options like buyer
14   intent. Amazon DSP can help advertisers target future buyers through consumer habits around
15   specific categories of products or specific products, and even through assumed future intent based
16   on past buying history.
17           76.     Advertisements serve different objectives which ultimately funnel down to the
18   customer making a purchase.
19           77.     When using Amazon DSP, advertisers define the audience they want to target, and
20   the level of the advertising funnel they want to reach, using data and analytical tools from Amazon.
21

22

23

24   22
        “A beginner’s guide to programmatic advertising,” March 11, 2021, in What is Programmatic Advertising? A
     Complete 2022 Guide/Amazon Ads, available at https://advertising.amazon.com/blog/programmatic-advertising,
25   last visited 5/31/2022.
     23
        “Amazon DSP, Your brand in new places.” available at https://advertising.amazon.com/en-
26   us/solutions/products/amazon-
     dsp?ref=nb_sl_27sts99g7xkj_p_sspa_us_g_ggl_ct_592193285267&gclid=EAIaIQobChMIntHp4N6K-
27   AIVU4BaBR1lJQc7EAAYASAAEgJ-U_D_BwE last visited 5/31/2022.

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 1           78.      Many types of ads are limited to one or two parts of the advertising funnel. Amazon
 2   DSP, in contrast, was designed by Amazon to “live throughout the funnel.” 24
 3

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12           79.      Because Amazon has personal data from all of its customers, including data on their
13   shopping habits, Amazon can extrapolate from that data to determine customers’ demographics,
14   lifestyle choices, and interests with a high level of accuracy.
15           80.      Using Amazon’s customer data as the underpinning, advertisers can target ads
16   based on behavior, lifestyle, demographics, whether the customer is in-market for a product,
17   current customer context, re-marketing, and audience lookalikes. 26
18           81.      Behavior targeting focuses on customers who have carried out specific activities.
19           82.      Lifestyle targeting shows ads relevant to people who habitually buy from a
20   particular brand-relevant category, for example, luxury bath products.
21           83.      Demographic targeting lets advertisers target ads based on age, gender, income, or
22   location.
23           84.      Device targeting lets advertisers target ads to specific end-user devices.
24

25   24
        “Amazon Explained: DSP Targeting Capabilities,” 2020, Podean Marketplace Marketing, available at
     https://www.podean.com/amazon-explained-dsp-targeting/, last visited 6/1/2022.
26   25
        Id.
     26
        “Amazon DSP Targeting Options Explained,” Victor Malachard, Nozzle, available at
27   https://insights.nozzle.ai/amazon-dsp-targeting, last visited 5/31/2022.

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 1          85.     In-market targeting targets people in the market for specific products or services,
 2   for example ads for cat toys being targeted to cat owners.
 3          86.     Contextual targeting places ads based on what a user is browsing right then.
 4   Remarketing targets shoppers who have visited an advertiser’s site before, or looked at but not
 5   purchased the advertiser’s product on Amazon, or browsed products similar to the advertiser’s
 6   with the goal of getting them to purchase the advertiser’s product.
 7          87.     Audience lookalike targeting targets ads to Amazon customers who are similar to
 8   the advertiser’s current customers.
 9          88.     Each of the targeting options described above depends on the personal data Amazon
10   has collected and continues to collect from all Amazon customers to be effective. Amazon is able
11   to charge a premium to advertisers for ad targeting because of Amazon’s exclusive access to its
12   customers’ data. Unlike certain other activity that Amazon discloses will be monitored and used
13   for targeted advertising, however, Amazon has never disclosed or obtained user authorization for
14   use of their Alexa-captured voice data for targeted advertising purposes. Instead, Amazon
15   deliberately misleads its Alexa customers and has publicly disclaimed usage of voice data for
16   targeted advertising because Amazon knows that consumers are very concerned with how the
17   voice data recorded by Alexa in their homes and around their personal conversations is used.
18          Amazon Used Plaintiff Gray’s Alexa-Captured Voice Data to Target Him With Ads
19          Without His Consent
            89.     Plaintiff James Gray has been a registered user of Alexa products since 2018.
20
            90.     Currently, Plaintiff Gray has 4 Alexa-Enabled Devices, all various models of the
21
     Echo product, manufactured by Amazon. All 4 devices are registered to the same Amazon account
22
     that was established by Plaintiff Gray.
23
            91.     Each of the four devices is typically active 24 hours a day, 7 days a week. Plaintiff
24
     Gray estimates that he has spoken more than 1,000 commands or questions to Alexa since he
25
     became a registered user. Plaintiff Gray has never used any of the Alexa-Enabled Devices in his
26
     home to make a purchase.
27

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 1            92.   Plaintiff Gray has on multiple occasions had an experience where he spoke a
 2   question or command to Alexa and was shortly thereafter served an advertisement by Amazon that
 3   was closely related to the subject of the command or question.
 4            93.   Plaintiff Gray has never consented to the usage of his voice data by Amazon for the
 5   purpose of targeted advertising.
 6            Amazon Used Plaintiff Horton’s Alexa-Captured Voice Data to Target Him With
              Ads Without His Consent
 7
              94.   Plaintiff Scott Horton has been a registered user of Alexa products for the last 5-7
 8
     years.
 9
              95.   Currently, Plaintiff Horton has 4 Alexa-Enabled Devices, including an Echo, Echo
10
     Dot, Sonos Move, and Alexa sound bar. All 4 devices are registered to the same Amazon account
11
     that was established by Plaintiff Horton.
12
              96.   Each of the four devices is typically active (listening for voice prompts) 24 hours a
13
     day, 7 days a week. Plaintiff Horton estimates that he has spoken more than 3,000 commands or
14
     questions to Alexa since he became a registered user. Plaintiff Horton only infrequently used any
15
     of the Alexa-Enabled Devices in his home to make a purchase.
16
              97.   Plaintiff Horton has on multiple occasions had an experience where he spoke a
17
     question or command to Alexa and was shortly thereafter served an advertisement by Amazon that
18
     was closely related to the subject of the command or question.
19
              98.   Plaintiff Horton has never consented to the usage of his voice data by Amazon for
20
     the purpose of targeted advertising.
21
                                         EQUITABLE TOLLING
22
              99.   Amazon took active steps to conceal the fact that it uses Alexa-captured voice data
23
     to serve targeted ads to its customers without their knowledge or consent. The details of Amazon’s
24
     efforts to conceal its above-described unlawful conduct are in its possession, custody, and control,
25
     to the exclusion of Plaintiffs and Class members, and await discovery. When Plaintiffs learned
26
     about this material information, they exercised due diligence by thoroughly investigating the
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 1   situation, retaining counsel, and pursuing their claims. Amazon fraudulently concealed its above-
 2   described wrongful acts. Should such be necessary, therefore, all applicable statutes of limitation
 3   are tolled under the doctrine of equitable tolling.
 4                                        CLASS ALLEGATIONS
 5          100.    Class Definition. Plaintiffs seek certification of the Class set forth herein pursuant
 6   to Federal Rule of Civil Procedure 23(b)(2) and (b)(3), as applicable, and (c)(4). Specifically,
 7   Plaintiffs seek class certification of all claims for relief herein on behalf of a Class defined as
 8   follows:
            All persons residing in the United States who are or have been registered users of
 9
            an Alexa-Enabled Device and were during that time served targeted advertisements
10          by Amazon.
     Excluded from the Class are: (a) any judge or magistrate judge presiding over this action and
11
     members of their staff, as well as members of their families; (b) Amazon, Amazon’s predecessors,
12
     parents, successors, heirs, assigns, subsidiaries, and any entity in which Amazon has a controlling
13
     interest, as well as Amazon’s current or former employees, agents, officers, and directors; (c)
14
     persons who properly execute and file a timely request for exclusion from the Class; (d) persons
15
     whose claims in this matter have been finally adjudicated on the merits or otherwise released; (e)
16
     counsel for Amazon; and (f) the legal representatives, successors, and assigns of any such excluded
17
     persons.
18
            101.    Ascertainability. The proposed Class is readily ascertainable because the Class is
19
     defined using objective criteria to allow Class members to determine if they are part of the Class.
20
     Further, the Class can be readily identified through records that Amazon maintains.
21
            102.    Numerosity (Rule 23(a)(1)). The Class is so numerous that joinder of individual
22
     members herein is impracticable. The exact number of Class members, as herein identified and
23
     described, is not known, but publicly available data indicates that in 2020, there were already over
24
     46 million Alexa-Enabled Devices installed in the United States.
25

26

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 1          103.      Commonality (Rule 23(a)(2)). Common questions of fact and law exist for each
 2   cause of action and predominate over questions affecting only individual Class members, including
 3   the following:
 4              a. Whether Amazon engaged in the activities and practices referenced above;
 5              b. Whether Amazon had authorization from Alexa-Enabled Device users to use their
 6                    voice data in connection with Amazon’s advertising platform;
 7              c. Whether Amazon should retain the profits Amazon generated using Plaintiffs’ and
 8                    Class members’ private and personally identifiable voice data;
 9              d. What is the economic value of Alexa-Enabled Device users’ voice data;
10              e. Whether Plaintiffs and the other Class members were injured and sustained
11                    damages or other losses as a result of Amazon’s activities and practices
12                    referenced above, and, if so, in what amount;
13              f. Whether Amazon unjustly profited from their activities and practices referenced
14                    above, and, if so, in what amount;
15              g. Whether Amazon’s activities and practices referenced above constitute a violation
16                    of the Washington Consumer Protection Act;
17              h. Whether Amazon’s activities and practices referenced above constitute a violation
18                    of the right of publicity pursuant to RCW 63.60.010 et seq.;
19              i. Whether Amazon’s activities and practices referenced above constitute an
20                    invasion of privacy;
21              j. Whether Amazon’s activities and practices referenced above breached the implied
22                    covenant of good faith and fair dealing;
23              k. What is the appropriate injunctive relief to ensure that Amazon no longer
24                    unlawfully: (a) uses private and personally identifiable Alexa-Enabled Device
25                    users’ voice data to create demand for and use of Amazon’s advertising platform;
26                    (b) causes the diminution in value of Alexa-Enabled Device users’ private and
27

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 1                  personally identifiable voice data; and (c) profiles and targets, based on the above
 2                  activities, Alexa-Enabled Device users with advertisements.
 3              l. Whether Plaintiffs and Class members are entitled to damages or injunctive relief.
 4          104.    Typicality (Rule 23(a)(3)). Plaintiffs’ claims are typical of the claims of the other
 5   Class members’ claims, because, among other things, Plaintiffs and the other Class members
 6   sustained similar injuries as a result of Amazon’s uniform wrongful conduct and their legal claims
 7   all arise from the same events and wrongful conduct by Amazon.
 8          105.    Adequacy (Rule 23(a)(4)). Plaintiffs will fairly and adequately protect the interests
 9   of the other Class members. Plaintiffs’ interests do not conflict with the interests of the other Class
10   members, and Plaintiffs have retained counsel experienced in complex class action and data
11   privacy litigation to prosecute this case on behalf of the Class.
12          106.    Predominance & Superiority (Rule 23(b)(3)). In addition to satisfying the
13   prerequisites of Rule 23(a), Plaintiffs satisfy the requirements for maintaining this action as a class
14   action under Rule 23(b)(3). Common questions of law and fact predominate over any questions
15   affecting only individual Class members, and a class action is superior to individual litigation and
16   all other available methods for the fair and efficient adjudication of this controversy. The amount
17   of damages available to Plaintiffs is insufficient to make litigation addressing Amazon’s conduct
18   economically feasible in the absence of the class action procedure. Individualized litigation also
19   presents a potential for inconsistent or contradictory judgments, and increases the delay and
20   expense presented by the complex legal and factual issues of the case to all parties and the court
21   system. By contrast, the class action device presents far fewer management difficulties and
22   provides the benefits of a single adjudication, economy of scale, and comprehensive supervision
23   by a single court.
24          107.    Final Declaratory or Injunctive Relief (Rule 23(b)(2)). Plaintiffs also satisfy the
25   requirements for maintaining a class action under Rule 23(b)(2). Amazon has acted or refused to
26   act on grounds that apply generally to the Class, making final declaratory and/or injunctive relief
27   appropriate with respect to the Class as a whole.
28
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 1          108.    Particular Issues (Rule 23(c)(4)). Plaintiffs also satisfy the requirements for
 2   maintaining a class action under Rule 23(c)(4). Plaintiffs’ claims consist of particular issues that
 3   are common to all Class members and are capable of class-wide resolution that will significantly
 4   advance the litigation.
 5                             CLAIMS AND VIOLATIONS ALLEGED
 6                                           COUNT I
 7                 Breach of the Implied Covenant of Good Faith and Fair Dealing
              (Against All Defendants, On Behalf of Plaintiffs and the Nationwide Class)
 8

 9          109.    Plaintiffs re-allege and incorporate the allegations in paragraphs 1 to 108 of this
10   Complaint as if fully restated herein.
11          110.    Plaintiffs brings this claim individually and on behalf of the Class.
12          111.    Every contract imposes upon each party a duty of good faith and fair dealing in its
13   performance and enforcement.
14          112.    The duty of good faith and fair dealing obligates the parties to cooperate with each
15   other so that each may obtain the full benefit of performance.
16          113.    The duty of good faith and fair dealing also arises when the contract gives one party
17   discretionary authority to determine a contract term.
18          114.    In dealings between Amazon and its users, Amazon is invested with discretionary
19   power affecting all of the contractual terms between Amazon and its users.
20          115.    Amazon uses its discretionary power in deciding what to disclose and what not to
21   disclose with respect to Amazon’s use of Alexa-captured voice data in the various documents
22   comprising the contractual agreement between Amazon and people, including Plaintiffs and Class
23   members, who use or access Alexa.
24          116.    People who access or use Alexa or Alexa-Enabled Devices are subject to a complex
25   web of contractual terms drafted and imposed by Amazon, including the Amazon.com Privacy
26   Notice, Alexa Terms of Use, and Amazon Device Terms of Use. Amazon also incorporates its
27   answers to Frequently Asked Questions about how Alexa works, and privacy concerns regarding
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 1   the collection and use of users’ voice data into terms applicable to those who user or access
 2   Alexa. 27
 3           117.    Amazon purports to respect and protect its users’ privacy.
 4           118.    The versions of the Amazon.com Privacy Notice in effect on or about the time
 5   Plaintiffs initially registered their Alexa-Enabled Devices open with the promise that:
 6   “Amazon.com knows that you care how information about you is used and shared, and we
 7   appreciate your trust that we will do so carefully and sensibly..” 28 Nowhere does the Amazon.com
 8   Privacy Notice disclose that Amazon uses Alexa-captured voice data for the purpose of targeted
 9   advertising.
10           119.    The Amazon Device Terms of Use do not include targeted advertising in the
11   description of how Amazon uses users’ Alexa-captured voice data; instead further cementing
12   Amazon’s implied promise that Amazon only uses Alexa users’ voice data to execute Alexa
13   functions in the Alexa and Alexa Device FAQs, by telling users:
14                   1. Features and software
15                   ***
16                   c. Voice Services. Your Amazon Device may have features that allow you
17                   to access Alexa voice services or otherwise use your voice to perform
18                   certain tasks, such as check the weather, add a calendar entry, perform a
19                   search, or operate other connected products. When you use voice services,
20                   we may process your voice input and other information (such as location)
21
     27
        See, e.g., Alexa and Alexa Device Terms, available at
22   https://web.archive.org/web/20160409100358/https://www.amazon.com/gp/help/customer/display.html?nodeId=201
     602230 (captured 4/9/2016);
23   https://web.archive.org/web/20180103150928/https://www.amazon.com/gp/help/customer/display.html?nodeId=201
     602230 (captured 1/3/2018) (both last visited March 2, 2023).
24   28
        Available at
     https://web.archive.org/web/20170603043007/https://www.amazon.com/gp/help/customer/display.html?nodeId=468
25   496#GUID-1B2BDAD4-7ACF-4D7A-8608-
     CBA6EA897FD3__SECTION_87C837F9CCD84769B4AE2BEB14AF4F01 (in effect September 30, 2016 through
26   August 27, 2017) (last visited March 1, 2023);
     https://web.archive.org/web/20200909115320/https://www.amazon.com/gp/help/customer/display.html?ie=UTF8&
27   nodeId=16015091 (in effect August 28, 2017 through December 31, 2019) (last visited March 1, 2023).

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 1                   in the cloud to respond to your requests and to improve your experience and
 2                   our services. 29
 3           120.    Amazon’s contractual promise that Amazon’s use of Alexa users’ voice data was
 4   limited to assisting in the execution of Alexa functions aligned with its public statements that
 5   Amazon did not use voice data for targeted advertising.
 6           121.    Despite its contractual privacy promises that Amazon only uses Alexa users’ voice
 7   data in connection with the execution of Alexa functions, Amazon took actions contrary to those
 8   contractual promises to deprive Plaintiffs and Class members of the benefits of their contract with
 9   Amazon.
10           122.    Amazon’s use of Alexa users’ voice data to inform targeted advertising was
11   objectively unreasonable given Amazon’s privacy promises.
12           123.    Amazon’s conduct in using Alexa users’ voice data to inform targeted advertising
13   evaded the spirit of the bargain made between Amazon and the Plaintiffs and Class members.
14           124.    Amazon’s conduct in this case abused its discretionary power to specify terms—in
15   particular, Amazon’s failure to disclose that it was using Alexa users’ voice data to inform targeted
16   advertising or obtain users’ consent to the same.
17           125.    As a result of Amazon’s misconduct and breach of its duty of good faith and fair
18   dealing, Plaintiffs and the Class members suffered damages. Plaintiffs and the Class members did
19   not receive the benefit of the bargain for which they contracted and for which they paid valuable
20   consideration in the form of their personal information, which, as alleged above, has ascertainable
21   value to be proven at trial.
22

23

24

25

26   29
       Available at
     https://web.archive.org/web/20161220090257/https://www.amazon.com/gp/help/customer/display.html?nodeId=202
27   002080 (last visited March 2, 2023).

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                                           COUNT II
 1
      Violation Of The Washington Consumer Protection Act, Wash. Rev. Code § 19.86 et seq.
 2           (Against All Defendants, On Behalf of Plaintiffs and the Nationwide Class)
 3
            126.    Plaintiffs re-allege and incorporate the allegations in paragraphs 1 to 108 of this
 4
     Complaint as if fully restated herein.
 5
            127.    Plaintiffs bring this claim individually and on behalf of the Class.
 6
            128.    The Washington Consumer Protection Act (“Washington CPA”) prohibits “[u]nfair
 7
     methods of competition and unfair or deceptive acts or practices in the conduct of any trade or
 8
     commerce.” Wash. Rev. Code §19.86.020.
 9
            129.    The elements of a Washington CPA claim are (1) an unfair or deceptive act or
10
     practice, (2) occurring in trade or commerce, (3) with a public interest impact, (4) an injury to
11
     plaintiff in his or her business or property, and (5) a causal relationship between the unfair or
12
     deceptive act and the resulting injury. Hangman Ridge Training Stables, Inc. v. Safeco Title Ins.
13
     Co., 105 Wash. 2d 778, 780 (1986).
14
            130.    Amazon has committed unfair acts and practices in the conduct of trade or
15
     commerce, in violation of Wash. Rev. Code §19.86.020, by using the private information of
16
     Plaintiffs and the Class without their consent, including the voice data of Plaintiffs and the Class.
17
            131.    Amazon committed its unfair acts and practices in the context of trade or
18
     commerce. Amazon uses the voice data it collected from Plaintiffs and the Class for business
19
     purposes affecting interstate commerce, including for profit, by using the voice data to sell
20
     advertising services at a premium to third parties throughout the country who purchase advertising
21
     services through Amazon’s advertising platform.
22
            132.    Amazon also sells its Alexa-Enabled Devices in interstate commerce in markets
23
     across the nation. Alexa-Enabled Device owners can use their Alexa-Enabled Device to make
24
     purchases, including through the Amazon e-commerce marketplace.
25
            133.    The public interest is harmed by Amazon’s conduct in using Plaintiffs’ and the
26
     Class’s voice data to sell targeted advertising to third parties at a premium, without Plaintiffs’ and
27

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 1   the Class’s consent, in violation of their fundamental privacy interests in controlling access to and
 2   dissemination of their personal data. In addition, to the extent that Amazon uses Plaintiffs’ and
 3   the Class’s voice data directly or indirectly for profit or other benefit, Amazon is deriving an unfair
 4   competitive advantage as a result.
 5          134.    Plaintiffs and the Class members have been injured by paying more for Alexa-
 6   Enabled Devices than they would have been willing to pay were it fully disclosed that Amazon
 7   was using Plaintiffs’ and the Class’s voice data collected from their Alexa-Enabled Devices to
 8   develop and sell the advertising services on Amazon’s advertising platform and target ads to
 9   Plaintiffs and Class Members. Plaintiffs and Class Members have been further injured by having
10   their voice data and the inferences gleaned from that data used by Amazon for Amazon’s personal
11   gain, including through the development and sale of targeted advertising through Amazon’s
12   advertising platform, and without Plaintiffs’ and the Class’s consent.
13          135.    Plaintiffs and the Class expected their voice data collected by Amazon through their
14   Alexa-Enabled Devices to be used to answer questions posed and fulfill requests made while they
15   were using their Alexa-Enabled Devices. Plaintiffs and the Class did not expect that Amazon
16   would use their voice data and/or the inferences gleaned from that data for profit, and to sell access
17   to its advertising platform to third parties at a premium and target advertising to Plaintiffs and the
18   Class. These considerations are material to Plaintiffs and the Class as reasonable consumers. Had
19   Plaintiffs and the Class known how Amazon would use their voice data, the Alexa-Enabled
20   Devices they purchased would have been worth less than a comparable product that performed the
21   same functions without subjecting the consumer to constant monitoring of their speech for targeted
22   advertising purposes.
23          136.    Plaintiffs and Class members have recognized property interests in their voices and
24   the related right to not have their voices used by others without their consent. RCW 63.60.010,
25   63.60.050. Accordingly, Plaintiffs and Class members were also deprived of the value inherent to
26   their personal data used by Amazon in connection with Amazon’s advertising platform and its sale
27   of targeted ads without Plaintiffs’ and the Class’s consent.
28
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 1           137.    A market exists for human individuals’ voice recordings, and for the information
 2   included in human individuals’ voice recordings, and entities and companies recognize that they
 3   have to pay for such information. Plaintiffs and Class members have a property interest in their
 4   personal information, including the personal information collected through their voice data.
 5   Plaintiffs and Class members were deprived of the appropriate consideration and compensation
 6   that should have been paid to them when Amazon used their personal information from their voice
 7   data to profit in connection with Amazon’s advertising platform.
 8           138.    Amazon’s actions are unfair as they offend public policy as established by statute,
 9   and are otherwise unethical, oppressive, and unscrupulous.
10           139.    There is a causal link between the unfair acts and deceptive practices complained
11   of and the injuries alleged. Plaintiffs and Class members’ property interest in their voices and
12   voice recordings were infringed by Amazon’s unfair acts in utilizing Plaintiffs’ and Class
13   members’ voice recordings for targeted advertising. Plaintiffs and Class members’ property
14   interests were infringed as a result of Amazon’s misleading practices in failing not only to disclose
15   that they were using Alexa-captured voice recordings for this purpose, but also affirmatively
16   stating that it was not using the recordings for this purpose.
17           140.    Plaintiffs and the Class are entitled to damages, treble damages, and reasonable
18   attorneys’ fees pursuant to Wash. Rev. Code § 19.86.090.
19                                           COUNT III
20                           Invasion of Privacy – Intrusion on Seclusion
              (Against All Defendants, On Behalf of Plaintiffs and the Nationwide Class)
21

22           141.    Plaintiffs re-allege and incorporate the allegations in paragraphs 1 to 108 of this
23   Complaint as if fully restated herein.
24           142.    Plaintiffs bring this claim individually and on behalf of the Class.
25           143.    The elements of a claim for intrusion on seclusion are: (1) that the defendant
26   deliberately intruded; (2) into the plaintiff's solitude, seclusion, or private affairs; (3) in a manner
27   that would be highly offensive to a reasonable person.
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 1           144.    Amazon’s Alexa-Enabled Devices are designed to be used in Amazon customers’
 2   private spheres, including in their homes.
 3           145.    Amazon’s Alexa-Enabled Devices are designed to be incorporated into Amazon
 4   customers’ personal lives and private affairs.
 5           146.    Alexa-Enabled Devices can be used to control the lights, temperature, and doors in
 6   users’ homes; answer questions, including those of a sensitive, private, and personal nature; play
 7   music to set or reflect the mood in users’ homes and other private spaces; set and start daily routines
 8   for users; call friends and family who also have Alexa-Enabled Devices; and, of course, let users
 9   make purchases from the privacy of their homes.
10           147.    Plaintiffs and Class members have communicated personal and private information
11   in interactions with their Alexa-Enabled Devices, which was then collected and captured by
12   Amazon as voice data.
13           148.    Plaintiffs and Class members reasonably expected that Amazon would not access,
14   use, or disclose their voice data for purposes other than to answer questions posed and fulfill
15   requests made while they were using their Alexa-Enabled Devices.
16           149.    Amazon fostered Plaintiffs’ and Class members’ expectation that Amazon would
17   not access, use, or disclose their voice data for purposes other than to facilitate Plaintiffs’ and Class
18   members’ use of their Alexa-Enabled Devices. For example, Amazon explains Alexa’s purpose
19   as: “Alexa makes your life easier, more meaningful, and more fun by letting you voice control
20   your world.” Amazon also claims that users “have transparency and control over your Alexa
21   experience.”
22           150.    Plaintiffs and Class members did not expect or know that Amazon would collect
23   and use their voice data and the inferences and impressions gleaned from that data to create
24   detailed, in-depth dossiers of their characteristics, lives, and habits.
25           151.    Plaintiffs and Class members did not consent to Amazon’s collection and use of
26   their voice data and the inferences and impressions gleaned from that data to create detailed, in-
27   depth dossiers of their characteristics, lives, and habits.
28
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 1          152.    Plaintiffs and the Class did not expect or know that Amazon would collect and use
 2   their voice data and the inferences and impressions gleaned from that data to sell advertising
 3   services to third parties, or to target advertising to Plaintiffs and Class members.
 4          153.    Plaintiffs and Class members did not consent to Amazon’s collection and use of
 5   their voice data and the inferences and impressions gleaned from that data to sell advertising
 6   services to third parties, or to target advertising to Plaintiffs and Class members.
 7          154.    Amazon’s intrusion into Plaintiffs’ and Class members’ solitude, seclusion, and
 8   private affairs under the guise of collecting voice data through Alexa-Enabled Devices for
 9   Plaintiffs’ and Class Members’ benefit, while actually collecting Plaintiffs’ and Class members’
10   voice data to create dossiers of users’ characteristics, lives, and habits in order to sell advertising
11   services to third parties, and target advertising to Plaintiffs and Class members, is highly offensive
12   to a reasonable person.
13          155.    Amazon unlawfully invaded the privacy rights of Plaintiffs and Class members by
14   engaging in the conduct described above.
15          156.    As a result of the invasion of privacy caused by Amazon, Plaintiffs and the Class
16   members suffered and will continue to suffer damages and injury as set forth herein.
17          157.    Plaintiffs and the Class members seek all monetary and non-monetary relief
18   allowed by law, including damages, punitive damages, restitution, injunctive relief, reasonable
19   attorneys’ fees and costs, and any other relief that is just and proper.
20                                           COUNT IV
21             Infringement of Right of Personality Pursuant to RCW 63.60.010 et seq.
                 (Against All Defendants, On Behalf of Plaintiffs and the Nationwide Class)
22

23          158.    Plaintiffs re-allege and incorporate the allegations in paragraphs 1 to 108 of this

24   Complaint as if fully restated herein.

25          159.    Plaintiffs brings this claim individually and on behalf of the Class.

26

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 1          160.    Washington’s Personality Rights Statute provides that “Every individual or
 2   personality has a property right in the use of his or her name, voice, signature, photograph, or
 3   likeness.” RCW 63.60.010.
 4          161.    Washington’s Personality Rights Statute applies to all Plaintiffs and Class members
 5   nationwide by virtue of Amazon’s choice of law clauses designating Washington law shall apply
 6   to all disputes. Further, the Statute expressly applies “regardless of the place of domicile” of the
 7   individual. RCW 63.60.010.
 8          162.    Plaintiffs and Class members have recognized property rights in their voices.
 9          163.     “Any person who uses or authorizes the use of a living or deceased individual's or
10   personality's name, voice, signature, photograph, or likeness, on or in goods, merchandise, or
11   products entered into commerce in this state, or for purposes of advertising products, merchandise,
12   goods, or services, or for purposes of fund-raising or solicitation of donations, or if any person
13   disseminates or publishes such advertisements in this state, without written or oral, express or
14   implied consent of the owner of the right, has infringed such right. An infringement may occur
15   under this section without regard to whether the use or activity is for profit or not for profit.” RCW
16   63.60.050.
17          164.    Amazon used Plaintiffs’ and Class members’ voices in Washington for the purpose
18   of advertising products, merchandise, goods, or services when they collected and captured voice
19   data and utilized that data to create dossiers of users’ characteristics, lives, and habits in order to
20   sell advertising services to third parties, and target advertising to Plaintiffs and Class members.
21          165.    Plaintiffs’ and Class members did not consent to Amazon’s use of their voice data
22   for the purpose of advertising.
23          166.    The short clips of speech that are present in the voice data utilized by Amazon for
24   the purpose of advertising do not contain a sufficient amount of production authorship to be
25   afforded copyright protection.
26

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 1          167.    Amazon received substantial monetary benefits from third-party advertisers for the
 2   use of Plaintiffs’ and Class members’ voice data for targeted advertising to Plaintiffs and Class
 3   members.
 4          168.    Plaintiffs and Class members are entitled to injunctive relief to prevent and restrain
 5   Amazon’s continued unauthorized use of Plaintiffs’ and Class members’ voice data.
 6          169.    Plaintiffs and Class members are further entitled to actual damages or statutory
 7   damages in the amount of $1,500 (whichever is greater), and all profits Amazon received from its
 8   unauthorized use of Plaintiffs and Class members’ voice data, in an amount to be proven at trial.
 9                                      REQUEST FOR RELIEF
10          170.    WHEREFORE, Plaintiffs respectfully request that the Court enter a judgment in its
11   favor and grant relief against Defendant Amazon as follows:
12          (a)     Issuing an injunction that Amazon immediately (i) cease and desist from all
13                  unauthorized collection and usage of voice data, (ii) revise its disclosures to
14                  accurately and clearly describe Amazon’s voice data collection and usage
15                  practices, (iii) require users to opt-in (pursuant to clear and accurate
16                  disclosures) before serving them with targeted ads based on their voice data,
17                  and (iv) delete all voice data that was illegitimately collected;
18          (b)     Awarding monetary damages;
19          (c)     Ordering Amazon to disgorge all profits that it illegally obtained by and
20                  through its illegal conduct, and used to further fund or promote the illegal
21                  conduct or that constituted capital available for that purpose;
22          (d)     Awarding Plaintiffs their attorneys’ fees and litigation costs; and,
23          (e)     Awarding such other relief as may be available and appropriate under the
24                  law or in equity.
25

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 1                                          JURY DEMAND
 2         Plaintiffs demand a trial by jury for all claims upon which a jury trial is available.
 3   Dated: March 3, 2023
 4                                                    Respectfully submitted,
 5
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 6                                                    Rebecca L. Solomon
                                                      s/ Jason T. Dennett, WSBA #30686
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